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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                   NORTHERN DIVISION

 PRISCILLA STERLING, et al.,                     )
                                                 )
          Plaintiffs,                            )
 v.                                              )
                                                 )       Case No. 3:22-cv-00531-KHJ-MTP
 THE CITY OF JACKSON, MISSISSIPPI,               )
 et al.,                                         )
                                                 )
          Defendants.
                                                 )




                          DEFENDANT SIEMENS INDUSTRY, INC.’S
                        MOTION TO DISMISS PLAINTIFF’S COMPLAINT

         Defendant Siemens Industry, Inc. (“Siemens”) moves to dismiss Plaintiffs’ complaint

pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). The bases for dismissal are described in the

accompanying memorandum brief, which this motion incorporates by reference, and in the

following exhibits:

      − Exhibit 1 – Performance Contracting Agreement Between City of Jackson, Mississippi,

and Siemens Industry, Inc., Building Technologies Division;

      − Exhibit 2 – Plaintiff’s First Amended Complaint (City of Jackson v. Siemens Industry, et

al.; Cause No. 19-375; In the Circuit Court of the First Judicial District of Hinds County,

Mississippi); and

      − Exhibit 3 –Corrected Consent Judgment (City of Jackson v. Siemens Industry, et al.;

Cause No. 19-375; In the Circuit Court of the First Judicial District of Hinds County,

Mississippi).

         Respectfully submitted this 12th day of December, 2022.

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                               CERTIFICATE OF SERVICE

        I hereby certify that on December 12, 2022, a true and correct copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system, which will send electronic
notification of such filing to all counsel of record.



                                                   /s/ Roy D. Campbell, III
                                                     OF COUNSEL




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